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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               CRIMINAL MINUTES - GENERAL



 Case No.         CR 19-00282-RGK                                                                Date      October 3, 2019


 Present: The Honorable        R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 Interpreter       N/A

          Sharon L. Williams                      Debbie Hino-Spaan                                      Roger Hsieh
                Deputy Clerk                    Court Reporter/Recorder                           Assistant U.S. Attorney



                U.S.A. v. Defendant(s):          Present Cust. Bond            Attorneys for Defendants:          Present App. Ret.

(8) 1001 Doubleday, LLC                             N

(9) Von-Karman - Main Street, LLC                   N

(10) 10681 Production Avenue, LLC                   N

                    FURTHER ORDER TO SHOW CAUSE WHY DEFENDANTS SHOULD NOT BE ADJUDGED IN
 Proceedings:       CONTEMPT



        Case called. No defendants are present. Court and government counsel confer. The Court finds
defendants 1001 Doubleday, LLC; Von-Karman - Main Street LLC; and 10681 Production Avenue, LLC in
civil contempt. Court and counsel confer re terms of contempt. The government shall submit a proposed
contempt order for the Court’s approval.

         IT IS SO ORDERED.

                                                                                                                   :         02

                                                                      Initials of Deputy Clerk     slw




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